Case 4:00-cr-40033-JPG   Document 136   Filed 11/29/05   Page 1 of 2   Page ID #96
          Case 4:00-cr-40033-JPG                       Document 136              Filed 11/29/05         Page 2 of 2     Page ID #97

  A 0 245D     (Rev. 12/03 Judgment in a Criminal Case for Revocations
               Sheet 2- imprisonment


 DEFENDANT: JOANN KAMlNSKl
 CASE NUMBER: 4:00CR40033-001-JPG


                                                                IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
  total term o f :
12 months




       @f The court makes the following recommendations to the Bureau of Prisons:
That the defendant receive mental health and substance abuse counseling.



       @f The defendant is remanded to the custody of the United States Marshal.
             The defendant shall surrender to the United States Marshal for this district:
             0 at                                     0 am.              p.m.    on
                 as notified by the United States Marshal.

       [7 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                 before 2 p.m. on
                 as notified by the United States Marshal.
                 as notified by the Probation or Pretrial Services Office.

                                                                         RETURN
  I have executed this judgment as follows:




             Defendant delivered on                                                        to

  at                                                     with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                                BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
